
This appeal of the denial of appellant’s seventh amended initial motion to vacate judgments of conviction, which was transferred to this Court from the Second District Court of Appeal in case no. 2D08-5692, is hereby dismissed without prejudice and returned to the Circuit Court of the Sixth Judicial Circuit. The circuit court is hereby directed to conduct a status conference within thirty days of the date of this order for the purpose of determining the question of counsel for Gregory Capehart in the pending penalty phase proceeding and any other matters the court deems necessary or proper. The circuit court is also directed to proceed expeditiously, commensurate with due process considerations, in conducting the new penalty phase proceeding previously ordered by that court. In light of this order, all pending motions are denied as moot.
PARIENTE, LEWIS, LABARGA, and PERRY, JJ., concur.
CANADY, J., dissents with an opinion, in which POLSTON, J., concurs.
QUINCE, C.J., recused.
